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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 UNITED STATES OF AMERICA

       v.                                CASE NO. 8:24-cr-00462-KKM-NHA

 STEPHEN ANDREW LEEDY


                     NOTICE OF CORPORATE VICTIMS OR
                      CORPORATE INTERESTED PARTIES

       In response to the Court’s Standing Order of January 8, 2025, the United

 States is unaware of any corporate victims or other corporate interested parties in the

 above-captioned case.

                                         Respectfully submitted,

                                         ROGER B. HANDBERG
                                         United States Attorney


                                  By:    /s/ Abigail K. King_______________
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 U.S. v. LEEDY                                   Case No. 8:24-cr-462-KKM-NHA

                             CERTIFICATE OF SERVICE

        I hereby certify that on January 10, 2025, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to the following:

        Bjorn Brunvard, Esq.
        J.S. Lucas Fleming, Esq.
        Amanda Bettker-Nicholson, Esq.



                                          /s/ Abigail K. King       _______
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